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                       U.S. Trustee's Exhibit D
                                                                             UST 050
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                       U.S. Trustee's Exhibit D
                                                                             UST 051
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                       U.S. Trustee's Exhibit D
                                                                             UST 052
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                       U.S. Trustee's Exhibit D
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